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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DIEGO CERVANTES, Individually and )      Civil Action No. 1:18-cv-02551-AT
on Behalf of the Invesco 401(k) Plan )
and All Others Similarly Situated,   )   CLASS ACTION
                         Plaintiff,  )
                                     )   AMENDED COMPLAINT FOR
      vs.                                LIABILITY UNDER ERISA
                                     )
INVESCO HOLDING COMPANY              )
(US), INC.; INVESCO LTD.;            )
INVESCO NATIONAL TRUST               )
COMPANY; INVESCO ADVISERS, )
INC.; INVESCO BENEFITS PLAN          )
COMMITTEE; SUZANNE                   )
CHRISTENSEN; JOHN COLEMAN; )
WASHINGTON DENDER; PETER             )
GALLAGHER; DAVID GENOVA;             )
DOUGLAS SHARP; BEN UTT; GARY )
WENDLER; KEVIN M. CAROME;            )
LOREN M. STARR; and JOHN             )
DOES 1-20,                           )
                                     )
                         Defendants. )
                                     )
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       Plaintiff brings this action individually, on behalf of a class of all participants in

Invesco Ltd.’s 401(k) Plan (the “Plan”) between May 25, 2012 to the date of

Judgment (the “Class Period”), and on behalf of the Plan, for breach of fiduciary duty

and prohibited transactions under the Employee Retirement Income Security Act of

1974, as amended, 29 U.S.C. §1001, et seq. (“ERISA”), against the Defendants, as

defined below. As alleged herein, Defendants have breached their fiduciary duties of

prudence and loyalty with respect to the Plan, and entered into prohibited transactions

in violation of ERISA, to the detriment of the Plan and its participants and

beneficiaries.

                             NATURE OF THE ACTION

       1.     Invesco Ltd. (“Invesco”) is an investment management firm that offers

mutual funds and other types of investment products to customers. The Plan is

offered to employees of Invesco’s wholly-owned subsidiaries. ERISA, which

regulates the operation of the Plan, requires plan fiduciaries to act solely in the interest

of the Plan’s participants and beneficiaries. To meet their fiduciary obligations, the

Plan’s fiduciaries are required to establish and maintain a prudent process to search

the market for the best investment options for Plan participants and to monitor the

Plan’s investment options on an ongoing basis.
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      2.     Defendants did not consider or act in the best interest of the Plan and its

participants throughout the Class Period. Instead, Defendants put their interests

before the Plan participants by treating the Plan as an opportunity to promote and

generate fees from proprietary investment products offered by Invesco and its

subsidiaries. Instead of engaging in a prudent process to benefit the interests of Plan

participants, Defendants used Plan participants as a captive market for Invesco’s

proprietary investment products to benefit and enrich Invesco and its affiliates.

      3.     Participants in the Plan were entitled to save for retirement by choosing

from an assortment of investment funds selected for the Plan (the “Plan Investments”).

Plan participants were also able to invest in securities other than those offered in the

Plan as Plan Investments by opening a self-directed brokerage account with the

brokerage firm Charles Schwab & Co., Inc. (the “Schwab Account”).

      4.     In structuring the Plan, the Plan fiduciaries acted to solely benefit Invesco

and its affiliate entities to the detriment of the Plan participants in connection with

both the Plan Investments and the Schwab Account.

      5.     The Plan fiduciaries filled the Plan with Invesco mutual funds and

collective investment trust (“CITs”) in breach of their fiduciary duties. During the

Class Period, between 55% to 68% of the Plan Investments were affiliated with

Invesco and 100% of the actively managed Plan Investment choices in key investment

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categories were affiliated with Invesco, even though these Plan investment options

performed worse and/or had higher fees than other comparable unaffiliated investment

options.

      6.     Furthermore, the Plan fiduciaries violated their fiduciary duties in

connection with the Schwab Account. The Schwab Account is a full service

brokerage account that could have afforded Plan participants the opportunity to invest

in a wide assortment of investments, including all publicly listed equity securities, and

thousands of ETFs. But during the Class Period, Plan fiduciaries restricted the

investment options available to Plan participants which benefited Invesco and harmed

Plan participants.

      7.     The Plan’s fiduciaries modified the features of the Schwab Account to

prevent Plan participants from purchasing any publicly listed equity securities other

than ETFs affiliated with Invesco. Plan participants were not able to purchase any

blue chip common stocks or ETFs offered by Invesco’s largest competitors, like

BlackRock, Vanguard and State Street, even though those ETFs may have been more

liquid, had lower fees or a better track records, or were in investment categories not

offered by Invesco. The Schwab Account was set up so that any Plan participant who

sought to invest in a liquid security that could be traded while the market was open

was forced to invest in an Invesco-affiliated ETF.

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      8.       As alleged herein, Defendants acted in their own interests to the

detriment of Plan participants. Instead of carefully examining and selecting the most

prudent investment options for the Plan or prudently monitoring the Plan to eliminate

its poor investment options, Defendants caused a majority of Plan Investments to

consist of Invesco-affiliated mutual funds and CITs, and limited the Schwab Account

to Invesco affiliated ETFs, enabling Invesco and its subsidiaries to earn lucrative fees,

increase its assets under management, and serve business interests unrelated to the

benefit of Plan participants. Defendants breached their fiduciary duties and engaged

in prohibited transactions in other ways as well, as alleged below.

      9.       To remedy these fiduciary breaches and prohibited transactions, Plaintiff,

individually and as a representative of a Class of participants and beneficiaries in the

Plan, brings this action on behalf of the Plan to recover all losses resulting from

Defendants’ breaches of fiduciary duty and other ERISA violations and restore to the

Plan any profits made by the fiduciaries or the persons and/or entities who knowingly

participated in the fiduciaries’ imprudent and disloyal use of Plan assets. In addition,

Plaintiff seeks such other equitable or remedial relief as the Court may deem

appropriate.




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                           JURISDICTION AND VENUE

      10.      Plaintiff brings this action pursuant to 29 U.S.C. §132(a), which provides

that participants or beneficiaries in an employee retirement plan may pursue a civil

action on behalf of a plan to remedy breaches of fiduciary duty and other violations of

ERISA for monetary and appropriate equitable relief.

      11.      This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §1331, because it is a civil action arising under the laws of the United

States, and it has exclusive jurisdiction under ERISA §502(e)(1), 29 U.S.C.

§1132(e)(1).

      12.      Venue is proper is this District pursuant to ERISA §502(e)(2), 29 U.S.C.

§1132(e)(2), because the Plan was and is administered in Atlanta, Georgia within this

District, violations of ERISA took place in this District, and/or a defendant resides or

may be found in this District. Venue is also proper in this District pursuant to 28

U.S.C. §1391(b) because a defendant resides and/or does business in this District and

because a substantial part of the events or omissions giving rise to the claims asserted

herein occurred within this District.




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                                    PARTIES

Plaintiff

      13.    Plaintiff Diego Cervantes has been a Plan participant during the Class

Period and invested in Plan Investments affiliated with Invesco. Plaintiff Cervantes

has suffered financial harm and has been injured by Defendants’ unlawful conduct as

described herein. Furthermore, Defendants have been unjustly enriched from the fees

and expenses generated as a result of Plaintiff Cervantes’ Plan Investments.

Defendants

      Invesco Ltd.
      14.    Defendant Invesco Ltd. (“Invesco”) is an investment management

company headquartered in Atlanta, Georgia. Defendant Invesco operates its for-profit

investment management business through its wholly-owned subsidiaries, Invesco

Advisers, Inc. (“Invesco Advisers”), Invesco National Trust Company (“Invesco Trust

Co.”), and PowerShares Capital Management LLC (“PowerShares”).

      15.    During the Class Period, Invesco’s investment management business was

promoted by the Plan because a majority of the Plan’s investment options were

affiliated with Invesco and managed and sponsored by Invesco’s subsidiaries: Invesco

Advisers and Invesco Trust Co. The Plan’s fiduciaries, members of the Invesco

Benefits Plan Committee (“IBPC”) and Invesco Holding Company (US) Inc. (“IVZ


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Inc.”) board of directors, were Invesco officers which created a conflict of interest and

an incentive to retain poor performing Invesco investment options managed and

sponsored by Invesco affiliates.

      The Plan Sponsor Defendants
      16.    Defendant IVZ Inc. is a Delaware corporation and the named Plan

Sponsor in the documents governing the Plan (the “Plan Documents”). According to

the Plan Documents, Defendant IVZ Inc., as the Plan Sponsor, is responsible for

ensuring the Plan’s proprietary and affiliate investment options would not be

prohibited under ERISA.

      17.    Additionally, the Board of Directors of Defendant IVZ Inc. (the “Board”)

is responsible for overseeing the Plan’s appointment and designation of Plan

fiduciaries, the removal of fiduciaries, and the appointment and removal of the Plan

administrator.

      18.    The Board consisted of the following individual defendants during the

Class Period, both of whom were senior executives of Invesco:

             (a)    Kevin M. Carome, Invesco Senior Managing Director and General

Counsel; and

             (b)    Loren M. Starr, Invesco Chief Financial Officer and Senior

Managing Director.

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      19.    The Defendants listed in ¶¶16-18 are referred to herein as the “Plan

Sponsor Defendants.” At all relevant times herein, the Plan Sponsor Defendants were

fiduciaries within the meaning of ERISA §3(21)(A), 29 U.S.C. §1002(21)(A) because

they had discretionary authority to evaluate the Plan’s proprietary investment options

and determine whether they should be removed from the Plan, exercised or possessed

discretionary authority or discretionary control with respect to management of the

Plan, and/or exercised or possessed authority or control with respect to management

or distribution of the Plan’s assets, and/or had discretionary authority or discretionary

responsibility in the administration of the Plan.

      The Invesco Benefits Committee Defendants
      20.    The IBPC is the Plan administrator and named fiduciary of the Plan. The

IBPC’s responsibilities include, inter alia: (i) control, management and administration

of the Plan; (ii) establishment of the Plan’s investment policy; (iii) selecting and

monitoring the Plan Investments available to Plan participants; (iv) responsibility for

the management, disposition and investment of Plan assets; (v) the power to appoint

and remove Plan Investment managers; and (vi) ensuring that the Plan complies with

ERISA, including the duties of loyalty and prudence codified in ERISA 404(c). As

alleged below, the IBPC selected wholly-owned subsidiaries of Invesco to manage a

majority of Plan Investments.

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      21.      During the Class Period, the IBPC consisted of the following individual

Defendants, each of whom was a senior executive of Invesco:

               (a)     Defendant Washington Dender, Head of Invesco Human

Resources and chairperson of the IBPC;

               (b)     Defendant Ben Utt, Managing Director of Invesco U.S.

Institutional Sales;

               (c)     Defendant Gary Wendler, Head of Invesco’s Product Development

and Investment Risk;

               (d)     Defendant Suzanne Christensen, Head of Invesco Enterprise Risk

& Analytics;

               (e)     Defendant Peter Gallagher, Head of Invesco Retail Sales;

               (f)     Defendant John Coleman, Invesco Managing Director and Chief

Administrative Officer;

               (g)     Defendant Douglas Sharp, Head of Invesco’s EMEA Retail Group,

who was removed as a member of the IBPC in October 2015; and

               (h)     Defendant David Genova, Invesco Global Investments Director.

      22.      The Defendants listed in ¶¶20-21 are referred to herein as the “Benefits

Committee Defendants.” At all relevant times herein, the members of the IBPC (as

well as the IBPC itself) were fiduciaries within the meaning of ERISA §3(21)(A),

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29 U.S.C. §1002(21)(A) as a result of their membership on the IBPC and because they

each exercised or possessed discretionary authority or discretionary control with

respect to management of the Plan and/or exercised or possessed authority or control

with respect to management or distribution of the Plan’s assets, and/or had

discretionary authority or discretionary responsibility in the administration of the Plan.

      The Investment Manager Defendants
      23.    Defendants Invesco Advisers and Invesco Trust Co. (collectively, the

“Investment Manager Defendants”) are wholly-owned subsidiaries of Invesco.

During the Class Period, the Investment Manager Defendants sponsored and managed

the Plan Investments.      At all relevant times herein, the Investment Manager

Defendants received compensation in connection with proprietary and/or affiliated

mutual fund and CIT Plan Investments. As the sponsor, investment advisor, and

investment sub-advisor of the affiliated Plan Investments, the Investment Management

Defendants are parties in interest to the Plan as defined by ERISA §3(14).

      The Plan
      24.    The Plan is a Nominal Defendant and at all relevant times herein has

been an “employee pension benefit plan” within the meaning of ERISA §3(2)(A),

29 U.S.C. §1002(2)(A), and a “defined contribution plan” or “individual account

plan” within the meaning of ERISA §3(34), 29 U.S.C. §1002(34). The Plan is named


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as a nominal defendant pursuant to Fed. R. Civ. P. 19 to ensure that complete relief

can be granted as to claims brought on behalf of the Plan.

      The “Doe” Defendants
      25.    To the extent there are additional officers and employees of Invesco,

members of the Board, the IBPC, or other entities or persons who were fiduciaries, or

parties in interest to the Plan during the Class Period, the identities of whom are

currently unknown to Plaintiff, Plaintiff reserves the right, once their identities are

ascertained, to seek leave to join them to the instant action. Thus, without limitation,

unknown “Doe” defendants include other individuals and entities who were

fiduciaries of the Plan within the meaning of ERISA §§3(21) and/or 402(a)(1) during

the Class Period and are personally liable under ERISA §409(a).

            DEFENDANTS’ FIDUCIARY DUTIES UNDER ERISA

The Duties of Loyalty and Prudence

      26.    ERISA imposes strict fiduciary duties of loyalty and prudence upon plan

fiduciaries. ERISA §404(a)(1)(a) sets forth the duty of loyalty, which states that

fiduciaries must discharge their duties solely in the interest of plan participants and

beneficiaries and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defray reasonable expenses of administering the plan.




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      27.    The duty of loyalty requires fiduciaries to act with an “eye single” to the

interests of plan participants.1 As the Supreme Court has noted, “Perhaps the most

fundamental duty of a [fiduciary] is that he [or she] must display . . . complete loyalty

to the interests of the beneficiary and must exclude all selfish interest and all

consideration of the interests of third persons.” Id. at 224.

      28.    Where fiduciaries have conflicting interests that raise questions regarding

their loyalty, the fiduciaries “are obliged at a minimum to engage in an intensive and

scrupulous independent investigation of their options to insure that they act in the best

interests of the plan beneficiaries.”2

      29.    ERISA §404(a)(1)(b) also imposes a “prudent person” standard upon

fiduciaries.3 This duty of prudence means that ERISA fiduciaries must discharge their

responsibilities “with the care, skill, prudence, and diligence” that a prudent person

“acting in a like capacity and familiar with such matters would use.”4 The duty of

prudence means that fiduciaries must not only select prudent investments, but that,

1
      Pegram v. Herdrich, 530 U.S. 211, 235 (2000).
2
      Kanawi v. Bechtel Corp., No. 09-16253 (9th Cir. 2009) (DOL Amicus Brief).
3
       This standard measures fiduciaries’ investment decisions and disposition of
assets. See Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014)
(citation omitted).
4
      ERISA §404(a)(1)(b).

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they must monitor the investments to ensure they do not become imprudent over

time.5

         30.   In measuring the prudence of fiduciaries’ conduct, courts state that the

key element is the process for considering and examining relevant information. As

one court explained, “ERISA §404(a)(1)(B) requires only that the [fiduciaries]

vigorously and independently investigate the wisdom of a contemplated investment; it

matters not that the investment succeeds or fails, as long as the investigation is

‘intensive and scrupulous and . . . discharged with the greatest degree of care that

could be expected under all the circumstances by reasonable beneficiaries and

participants of the plan.’”6

         31.   Thus, to meet the prudent process requirement, fiduciaries must

vigorously and thoroughly investigate the investment options to obtain relevant

information and then base their decisions on the information obtained. This means

considering competing funds to determine which fund should be included in the plan’s

investment line-up. “A fiduciary must engage in an objective, thorough, and




5
         See Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828 (2015).
6
         Donovan v. Walton, 609 F. Supp. 1221, 1238 (S.D. Fla. 1985).

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analytical process that involves consideration of the quality of competing providers

and investment products, as appropriate.”7

      32.    In satisfying these duties, fiduciaries should consider a variety of funds

and the expenses associated with the possible funds.8 Furthermore, under ERISA, a

fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

ones” that exists “separate and apart from the [fiduciary’s] duty to exercise prudence

in selecting investments.”9 If an investment is imprudent, the plan fiduciary “must

dispose of it within a reasonable time.” Id.

Fiduciaries Are Required Under ERISA to Act in the Best Interest of Plan
Participants When Selecting and Maintaining Investment Options

      33.    To meet their fiduciary obligations, ERISA requires plan fiduciaries to

establish and maintain a prudent process to search the market for the best investment

options. Moreover, ERISA requires fiduciaries to regularly monitor and review

existing investment options to determine whether it is prudent to keep or remove those

options from the Plan. Where fiduciaries have conflicting interests that raise

7
      72 Fed. Reg. 60453 (October 24, 2007) (Preamble).
8
       See Tibble v. Edison Int’l, No. CV-07-5359-SVW, 2010 U.S. Dist. LEXIS
69119 (C.D. Cal. July 8, 2010) (noting that fiduciaries must engage in a thorough
investigation of the merits of an investment and noting that the fiduciaries considered
five investment criteria, including the expense ratio, when selecting funds).
9
      Tibble, 135 S. Ct. at 1828.

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questions about their loyalty to the Plan, they “are obliged at a minimum to engage in

an intensive and scrupulous independent investigation of their options to ensure that

they act in the best interests of the plan beneficiaries.”10

Co-Fiduciary Liability

      34.    ERISA §405(a) imposes explicit co-fiduciary liability on plan fiduciaries,

provides for fiduciary liability for a co-fiduciary’s breach: “In addition to any liability

which he may have under any other provision of this part, a fiduciary with respect to a

plan shall be liable for a breach of fiduciary responsibility of another fiduciary with

respect to the same plan in the following circumstances: (1) if he participates

knowingly in, or knowingly undertakes to conceal, an act or omission of such other

fiduciary, knowing such act or omission is a breach; (2) if, by his failure to comply

with section 404(a)(1) in the administration of his specific responsibilities which give

risk to his status as a fiduciary, he has enabled such other fiduciary to commit a

breach; or (3) if he has knowledge of a breach by such other fiduciary, unless he

makes reasonable efforts under the circumstances to remedy the breach.”

      35.    ERISA §409(a) authorizes a plan participant to bring a civil action to

enforce a breaching fiduciary’s liability to the plan: “Any person who is a fiduciary

with respect to a plan who breaches any of the responsibilities, obligations, or duties

10
      Kanawi v. Bechtel, No. 09-16253 (9th Cir. 2009) (DOL Amicus Brief).

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imposed upon fiduciaries by this title shall be personally liable to make good to such

plan any losses to the plan resulting from each such breach, and to restore to such plan

any profits of such fiduciary which have been made through use of assets of the plan

by the fiduciary, and shall be subject to such other equitable or remedial relief as the

court may deem appropriate, including removal of such fiduciary.”

      36.    In addition to the duties of loyalty and prudence imposed by ERISA

§404, certain transactions are expressly prohibited by ERISA §406, and are

considered per se violations of ERISA because they entail a high potential for abuse.

      37.    Each of the Defendants are subject to co-fiduciary liability under

29 U.S.C. §1105(a)(1)(3) because they enabled other fiduciaries to commit breaches

of fiduciary duty through their appointment powers, failed to comply with 29 U.S.C.

§1104(a)(1) in the administration of their duties, or failed to remedy the known

breaches of duty carried out by other fiduciaries.

                        SUBSTANTIVE ALLEGATIONS

The Plan

      38.    The Plan, established and effective as of January 1, 2000, is a defined-

contribution Plan for the Invesco subsidiaries: (i) IVZ Inc. (the Plan Sponsor);

(ii) Invesco Management Group Inc.; (iii) Invesco Group Services, Inc.; and

(iv) Invesco North American Holding, Inc. (collectively the “Plan Employers”). The

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Plan provides retirement income for employees of the Plan Employers. The amount

of retirement income available to Plan participants is derived from the investment

returns generated on contributions by or on behalf of Plan participants, less fees and

expenses. Eligible employees of the Plan Employers may participate in the Plan by

contributing up to 75% of their eligible earnings to the Plan.

        39.   The written instrument, within the meaning of ERISA §402, 29 U.S.C.

§1102, by which the Plan is maintained is the Invesco 401(k) Plan (the “Plan

Document”), amended as of January 1, 2015. Under the Plan Documents, Charles

Schwab Trust Company (“Schwab”) is the directed trustee and custodian of the Plan,

receiving both direct and indirect compensation from the Plan.

        40.   According to the Plan Document, Defendant Invesco is the parent

company of the Plan Sponsor, IVZ, Inc. As of December 31, 2016, the Plan had over

$890 million in assets, making it one of the largest 401(k) plans in the country.

        41.   The IBPC is the named fiduciary of the Plan. The IBPC is expressly

responsible under the Plan Document for the: (i) control, management and

administration of the Plan; (ii) establishment of the Plan’s investment policy; and

(iii) selection and monitoring of the Investment Funds available to Participants in the

Plan.



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      42.    The IBPC is composed of senior Invesco executives who have an interest

in promoting Invesco’s asset management business. For example, Defendant Ben Utt

is the Invesco Director of U.S. Institutional Sales and Services, Defendant Peter

Gallagher is Invesco’s Head of U.S. Retail Sales, and Defendant David Genova is

Invesco’s Global Investments Director. Each of these IBPC members has a conflict of

interest with the Plan participants since a key part of their responsibilities involved

increasing sales, fund inflows, assets under management, and profitability for Invesco.

For example, the bonus performance criteria under the Invesco Executive Incentive

Bonus Plan includes assets under management, net revenue yield on assets under

management, operating revenues, and net asset flows. The Plan fiduciaries on the

IBPC have strong personal incentives to use Plan assets to positively impact Invesco’s

business even though their actions might negatively impact Plan participants.

      43.    During the Class Period, Invesco generated fees and increased assets

under management as a result of the inclusion and retention of proprietary Plan

Investments. According to the Plan Documents and Invesco’s Fee and Investment

Notices provided to Plan participants, Invesco-affiliated entities earned lucrative fees

by charging Plan participants “operating expenses” in connection with their

investments in proprietary Plan Investments. The operating expenses were paid



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indirectly from the participants’ accounts on an annual basis, thereby diluting their

value and enriching Invesco and its subsidiaries.

The Plan Investment Options

      44.    Plan participants may elect to make before-tax contributions or after-tax

(aka Roth) contributions or a combination of both. New employees who are eligible

to participate in the Plan who do not elect to be excluded from the Plan will be

automatically enrolled as a participant in the Plan.

      45.    According to the Plan’s “Summary Plan Description” (the “SPD”), Plan

participants are permitted to direct the investment of their funds into the Plan

Investments, which are selected and monitored by the Benefit Committee Defendants

and/or those who were delegated those responsibilities by the Plan Sponsor

Defendants. The Plan fiduciaries did not employ a careful and thoughtful process to

select, offer or monitor prudent investment options to serve the best interests of Plan

participants. Rather, Defendants used the Plan to serve the business interests of

Invesco by generating fees, increasing assets under management, and increasing the

liquidity of its ETF products.

      46.    First, during the Class Period, between 55% to 68% of all Plan

Investments were affiliated with Invesco. Second, Invesco-affiliated investment

options were the exclusive investment option in key categories of actively managed

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investments. Specifically, if a Plan participant had sought an actively managed

investment option during the Class Period, between 74% and 88% of those choices

would have been limited to Invesco-affiliated options and 100% of the actively

managed investment options in many key investment categories were affiliated with

Invesco. Below is a chart showing the percentage of all funds that were affiliated with

Invesco as well as the percentage of actively managed funds that were affiliated with

Invesco:

                                                                 Invesco-
                Total      Invesco-      % Invesco-    Active    affiliated         % Invesco-
     Year     Options 11   affiliated    affiliated    Options   (Active)       affiliated (Active)
     2012        25            15          60%           17          14                 82%
     2013        26            16          62%           18          15                 83%
     2014        31            21          68%           23          20                 87%
     2015        25            15          60%           17          14                 82%
     2016        27            15          55%           19          14                 74%
     2017        25            15          60%           16          14                 88%

        47.    Third, the only Plan Investment in numerous investment categories,

regardless of whether they were passive or actively managed investments, were

limited to investment options affiliated with Invesco. The below chart lists each

category of Plan Investments in which the only option was an Invesco-affiliated

option:



11
       This chart does not include the Invesco Stock Fund which was offered as part of
the Plan until 2015.

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                  Investment Categories With Only Invesco–Affiliated Options
    Category                         2012     2013     2014     2015     2016    2017
    High Yield Bond                   X        X        X        X        X       X
    World Allocation/ Allocation –
                                      X        X        X         X        X      X
    30% to 50% Equity
    Large Blend                       X        X        X         X        X      X
    Mid-Cap Growth                    X        X        X         X        X      X
    Small Value                       X        X        X         X        X      X
    Small Growth                      X        X        X         X        X      X
    Foreign Large Growth              X        X        X         X        X      X
    Diversified Emerging Mkts.        X        X        X         X        X      X
    Stable Value/ Money Market-
                                      X        X        X         X        X      X
    Taxable

      48.    In addition to the Invesco-affiliated investments, the Plan Investments

consisted of the Invesco Stock Fund (until 2015), seven to eight passive index funds

managed by State Street Global Advisors (“SSGA”), and depending on the year, a few

other non-affiliated mutual funds, including a fund that seeks to provide returns linked

to the rate of inflation, an alternative long and short fund, a bond fund and a mid-cap

value fund. Thus, if a Plan participant wanted an actively managed investment in the

large growth, diversified emerging markets, or high yield bond categories, the only

options were poor performing Plan Investments affiliated with Invesco. If a Plan

participant simply wanted to participate in the small cap growth, small cap blend,

large cap blend, diversified emerging markets, or stable value investment categories,

even with an index fund, they were also limited to Plan Investments affiliated with

Invesco.


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      49.    The manner in which the Plan invested funds that were not expressly

directed by Plan participants was also set up to benefit Invesco to the detriment of

Plan participants. According to the SPD, to the extent a participant failed to direct a

portion of their funds for investment, those funds will be automatically invested in a

portfolio referred to as the “Moderately Conservative Model Portfolio” (the

“MCMP”). As of September 2017, nearly 60% of the MCMP was invested in

Invesco-affiliated investments. As such, the Plan was structured so that a majority of

funds that were not directed by Plan participants were automatically placed into

Invesco Plan Investments.

      50.    Defendants’ strategy of generating investments in Invesco-affiliated

investments was successful. By December 31, 2016, $569,797,686 or 81% of

investments by Plan participants were in Invesco-affiliated funds.12 This benefitted

Invesco by increasing assets under management and generating associated fees. Plan

participants, however, were harmed due to the poor performance and/or high fees of

the Invesco-affiliated funds relative to other more prudent non-Invesco investment

options.




12
      This number consists of the total investments in products offered as Plan
Investments.

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The Self-Directed Schwab Account

      51.       If Plan participants are interested in purchasing securities other than those

offered in the Plan as Plan Investments, they are permitted to open the Schwab

Account (defined above), which is an individual self-directed brokerage account with

the firm Charles Schwab, and direct up to 100% of their contributions to that account.

Contrary to the statement in the SPD that the Schwab Account provides Plan

participants with “the maximum amount of investment flexibility available,”

Defendants structured the account to limit investment options and to steer money into

Invesco-affiliated investment products. Thus, Defendants actively and imprudently

took steps to structure the Schwab Account to benefit Invesco to the detriment of Plan

participants.

      52.       Indeed, the Schwab Account could have offered Plan participants the

ability to invest in all publicly traded individual stocks and bonds, as well as

thousands of ETFs from other ETF companies. The Plan fiduciaries, however,

severely restricted the Schwab Account so that Plan participants were not, and are not,

permitted to purchase equity securities, foreign securities, limited partnerships, fixed

income securities, or any of the thousands of ETFs other than those issued by Invesco-

affiliated PowerShares.



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      53.    Even though Invesco offers the PowerShares ETFs through the Schwab

Account, there are many other ETFs offered by significantly larger ETF companies,

including Vanguard, BlackRock, and State Street.13 A firm’s ETF business is valued

by various metrics, including number of ETFs, assets under management, and trading

volume/liquidity of the ETFs. PowerShares is viewed as the fourth largest ETF

company, trailing at a distant fourth to Vanguard, BlackRock, and State Street. It was,

and continues to be, in the financial interest of Invesco to increase investments in its

PowerShares ETFs. Thus, even though there are thousands of ETFs, many of which

have better track records and/or lower fees than the PowerShares ETFs, the Plan

fiduciaries excluded those ETFs from the Schwab Account.

      54.    Defendants acted in their own self-interest to limit the Schwab Account

to PowerShares ETFs to the detriment of Plan participants. Moreover, the Plan

fiduciaries’ failure to engage in a prudent process is shown by the imprudent

limitations placed on the purchase of non-PowerShares ETFs.

      55.    The selection of mutual funds offered to Plan participants through the

Schwab Account was also the result of an imprudent process. Even though Plan

participants were able to purchase non-Invesco mutual funds through the Schwab


13
      Even after acquiring Guggenheim Partners’ ETF business in September 2017,
Invesco is still the fourth largest ETF issuer in the United States.

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Account, they were also able to purchase more expensive share classes of the same

mutual funds offered as Plan Investments. For example, the Plan offered the High

Yield Bond Fund as a Plan Investment with an expense ratio of 0.68%. Due to an

imprudent process, however, Defendants permitted Plan participants to purchase

through the Schwab Account a more expensive share class of that same fund with an

initial sales charge of 4.25% and an expense ratio of 1.09%.

      56.    Since Defendants acted to input restrictions on the Schwab Account, they

should have also acted to limit the purchase of Invesco-affiliated funds. Had the Plan

fiduciaries acted in a prudent manner, they would have excluded from the Schwab

Account those funds that were included in the Plan as Plan Investments in order to

prevent Plan participants from unnecessarily paying higher fees and earning lower

returns. For example, as of December 31, 2016, investors held approximately

$1,500,000 in the retail and investor shares of the Invesco High Yield Fund, Invesco

Balanced Risk Allocation Fund, Invesco Developing Markets Fund, Invesco Floating

Rate Fund, Invesco Diversified Dividend Fund and Invesco American Franchise Fund

even though they could have purchased those same funds in the Plan, paid less in

expenses, and achieved a higher return.

      57.    Thus, the Plan fiduciaries failed to act prudently and served their own

interest by restricting the ETFs that can be purchased through the Schwab Account

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and by failing to restrict proprietary Invesco investment options that were also offered

through the Plan.

Defendants Acted to Benefit Invesco to the Detriment of the Plan and Plan
Participants

      58.    The Plan fiduciaries failed to meet their fiduciary obligations to the Plan

participants who trusted them to construct a Plan that prioritized their interests over

Invesco’s profits and that offered superior investment options and world-class

investment management. Defendants did not consider or act in the best interest of the

Plan and its participants throughout the Class Period. Instead, the Plan fiduciaries put

their interests before Plan participants by treating the Plan as an opportunity to

promote and generate fees for Invesco’s propriety investment businesses. Defendants

acted to bolster Invesco’s investment management business by constructing the Plan

in a way so that money would be funneled to Invesco’s financial products even though

it was imprudent to do so.

      59.    Invesco prioritized profit over fiduciary duty and saddled the Plan’s

participants with substandard proprietary mutual funds, CITs, and ETFs. The Plan

fiduciaries could have, but failed to, include investment options with comparable or

better performance from unaffiliated fund managers.            Furthermore, the Plan

fiduciaries breached their fiduciary duties by failing to remove imprudent investment

options from the Plan or structure the Schwab Account to include unaffiliated ETFs
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and exclude imprudent affiliated mutual funds. The inclusion, retention, and addition

of the Plan Investments and the investment options made available through the

Schwab Account were the result of an imprudent process.

The Plan Investments Were Imprudent and the Result of an Imprudent
Process

      60.      The Plan was loaded with Invesco-affiliated products due to their

affiliation with Invesco. Defendants used Plan participants as a captive investor base

to foster investments in Invesco-affiliated products and benefit Invesco as well as

Invesco Advisers, Invesco Trust Co. and PowerShares. The structure of the Plan as

well as the Plan Investments were imprudent and the result of the failure of the Plan

fiduciaries to engage in a prudent process.

      61.      A fiduciary acting in the best interest of the Plan and its participants and

with due care would not have added or retained many of the Plan Investments because

of their poor performance and/or high fees compared with readily available non-

affiliated investment options. Prior to and during the Class Period, Invesco-affiliated

funds in the Plan suffered from poor performance compared to readily apparent more

prudent investment options. Below are representative examples of Invesco-affiliated

funds that were imprudent.         A prudent and loyal fiduciary under the same

circumstances would not have selected, retained, or added the following imprudent

investments.
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Invesco Emerging Markets Equity Trust and Invesco Developing Markets
Fund

        62.   The Invesco Emerging Markets Equity Trust (the “Emerging Markets

Trust” or “EMET”) was a Plan Investment at the beginning of the Class Period. The

Emerging Markets Trust performed poorly prior to and during the Class Period. For

example, as of December 31, 2011, the EMET’s one year trailing return of -24.27%,

five year trailing return of 1.68%, and ten year trailing return of 9.67%, significantly

underperformed its benchmark’s (the “MSCI EM NR USD”) one year return

of -18.42% five year trailing return of 2.40%, and ten year trailing return of 13.86%.

According to the Fee and Investment Notices provided to Plaintiff and Plan

participants, the EMET continued to underperform its benchmark during 2012 to

2014.

        63.   During June 2014, the Plan replaced the EMET with another investment

option. A prudent fiduciary would have looked to the market for the best available

options. The Plan’s fiduciaries, however, did not act as prudent fiduciaries. Rather,

they substituted the EMET for another proprietary investment option affiliated with

Invesco, the Invesco Developing Markets Fund (the “Developing Markets Fund” or

“GTDFX”). The Invesco Developing Markets Fund, like the Emerging Markets

Trust, had a poor track record and was not a prudent investment selection.


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         64.   The Developing Markets Fund was not only imprudent because of

performance – it was also imprudent because of its high fees. The EMET was a CIT

with operating expenses of 0.21%. While a prudent fiduciary would have substituted

EMET for a better performing investment option with similar if not lower expenses,

the Plan fiduciaries selected a proprietary mutual fund GTDFX which not only had a

track record of poor performance, but had an operating expense ratio of 1.01% –

nearly 5 times more expensive than EMET.

         65.   In the year before GTDFX was added to the Plan, it lost 2.81% versus a

gain of 15.29% for its benchmark, the “MSCI ACWI EX USA NR USD,” placing the

GTDFX in the bottom 58% of comparable emerging market mutual funds. Then, in

2015, its first full year within the Plan, it lost 18.34%, well below its benchmark and

placing it in the bottom 83 % of comparable Diversified Emerging Market mutual

funds.

         66.   An August 8, 2018 Morningstar analyst report describes the GTDFX’s

performance as “dismal.” As of September 4, 2018, it’s one year trailing returns were

-12.54%, placing it in the bottom 97% of all emerging market mutual funds.

         67.   If Plan participants wanted to invest in an actively managed strategy in

the Diversified Emerging Market investment category during the Class Period, the

GTDFX and EMET were their only Plan options.

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          68.        If the Plan fiduciaries had faithfully executed their fiduciary duties to the

Plan and its participants, they would have selected one of the many better performing

non-affiliated funds available with comparable investment strategies in the Diversified

Emerging Markets Category.

          69.        The following table summarizes the poor performance and cumulative

harm to investors in the Developing Markets Fund as compared to other similar

available investment alternatives that were not included in the Plan.
                                                  INVESCO ERISA
               Invesco Developing Markets Fund Class R6 (GTDFX) as Compared to Peer Group Investments

                                                                                                                     Compounded
                                                                                                        Cumulative     Annual
          Fund                2011        2012      2013      2014       2015       2016       2017      Returns     Growth Rate
GTDFX                        -11.34%     19.66%    -2.81%    -2.82%    -18.34%     20.22%     30.86%      28.73%         3.67%
                                 $0.89   $1.06%      $1.03     $1.00       $0.82      $0.98     $1.29     28.73%         3.67%
GuideMark Emerging             -2.05%    14.60%    37.11%     7.81%     -10.10%      9.55%    38.46%     126.26%        12.37%
Markets Fund Institutional
Shares (GILVX)
+/- GTDFX                      9.29%     -5.06%    39.92%    10.63%      8.24%     -10.67%     7.60%      97.54%          8.70%
Baron Emerging Markets       -17.00%     23.22%    15.02%     3.75%    -10.97%       4.08%    40.63%      59.04%          6.85%
Fund Institutional Shares
(BEXIX)
+/- GTDFX                     -5.66%      3.56%    17.83%      6.57%     7.37%     -16.14%     9.77%      30.31%          3.18%
American Century             -21.60%     24.86%     0.42%     -1.21%    -7.87%       7.90%    46.36%      41.29%          5.06%
Emerging Markets Fund
R6 Class (AEDMX)
+/- GTDFX                    -10.26%      5.20%     3.23%     1.61%     10.47%     -12.32%    15.50%      12.57%          1.39%


          70.        As the chart above shows, the Developing Markets Fund cumulative

return from 2011 through 2017 was only 28.73% compared to available alternative

investments such as GILVX, BEXIX, and AEDMX which returned, 126.26%,

59.04%, and 41.29%, respectively during that period.




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      Invesco High Yield Bond Fund
      71.    The Invesco High Yield Bond Fund (the “High Yield Fund”) was a Plan

Investment during the Class Period. Between the start of the Class Period and May

2013, the Plan offered the R5 class of shares of the fund (ticker “AHIYX”) and after

that time offered the R6 class of shares (ticker “HYIFX”). If Plan participants wanted

to invest in an actively managed strategy in the high yield bond investment category,

the High Yield Fund was their only Plan option.

      72.    Prior to and during the Class Period, the High Yield Fund performed

poorly. For example, it only earned 1.75% during 2011, placing it in the bottom 76 of

comparable mutual funds in the High Yield Bond Investment Category, according to

Morningstar. In 2014, the High Yield Fund only returned 1.77%, well below the

performance of its benchmark “Bloomberg Barclays US Aggregate Bond TR USD”

which returned 5.97%. During 2016, the High Yield Fund returned only 11.74%,

placing it in the bottom 74% of comparable mutual funds in the High Yield Bond

investment category.

      73.    If the Plan fiduciaries had faithfully executed their fiduciary duties to the

Plan and its participants, they would have selected one of the many better performing

non-affiliated funds available with comparable strategies in the High Yield Bond

investment category.

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        74.       The following table summarizes the poor performance and cumulative

harm to investors in the High Yield Bond Fund as compared to other available

investment alternatives that were not included in the Plan:
                                                 INVESCO ERISA
                        Invesco High Yield R6 (HYIFX) as Compared to Peer Group Investments

                                                                                                           Compounded
                                                                                              Cumulative     Annual
           Fund               2011     2012       2013     2014     2015     2016     2017     Returns     Growth Rate
 HYIFX                       1.75%    17.83%     7.35%    1.77%    -2.67%   11.74%   6.53%    51.75%         6.14%
 Lord Abbett High Yield R6   3.15%    16.50%     9.69%    3.46%    -2.07%   16.32%   8.78%    68.98%         7.78%
 Shares (LHYVX)
 +/- HYIFX                   1.40%    -1.33%     2.34%    1.69%    0.60%     4.58%   2.25%
 Ivy High Income Y Shares    6.17%    16.88%    10.19%    1.48%    -7.37%   16.74%   8.00%    62.06%         7.14%
 (WHIYX)
 +/- HYIFX                   4.42%    -0.95%     2.84%    -0.29%   -4.70%    5.00%   1.47%
 AB High Income R Shares     1.76%    18.27%     6.28%     2.75%   -4.23%   14.73%   7.49%    55.22%         6.48%
 (AGDRX)
 +/- HYIFX                   0.01%     0.44%    -1.07%    0.98%    -1.56%    2.99%   0.96%
 PGIM High Yield R Shares    4.53%    13.78%     6.69%    2.31%    -3.11%   14.70%   7.19%    54.67%         6.43%
 (JDYRX)
 +/- HYIFX                   2.78%    -4.05%    -0.66%    0.54%    -0.44%   2.96%    0.66%


        75.       As the chart above shows, the High Yield Bond Fund’s cumulative return

from 2011 through 2017 was only 51.75%, compared to available alternative

investments such as LHYVX, WHIYX, AGDRX, and JDYRX which returned,

68.98%, 62.06%, 55.22%, 54.67% respectively, during that period.

Invesco American Franchise Fund

        76.       The Invesco American Franchise Fund was a Plan investment option

offered to Plan participants during the Class Period. It was first offered to Plan

participants as a mutual fund, the American Franchise Fund R6 (“VAFFX”), which

was managed by Invesco Advisers. In November 2014, the Plan moved the Plan

assets from VAFFX into the Invesco American Franchise Trust (the “AFT”), which is

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managed by Invesco Trust Co. and sub-managed by Invesco Advisers. During the

Class Period, if Plan participants wanted to invest in an actively managed strategy in

the large growth investment category, the VAFFX and AFT were their only Plan

options.

      77.    Before and during the Class Period, the American Franchise Fund

performed worse than comparable mutual funds in the same Large Growth investment

category. For example, according to Morningstar, in 2009, VAFFX performed 4.54%

below the average of other mutual funds in the Large Growth investment category. In

2011, VAFFX’s returns were 8.84% worse than its benchmark, the S&P 500, and

4.27% worse than the average of comparable funds in the Large Growth investment

category, according to Morningstar. VAFFX continued to underperform in 2012 with

returns that were 2.55% worse than its benchmark, and 1.89% worse than the average

of comparable funds in the Large Growth investment category, according to

Morningstar. In 2014, VAFFX performed in the bottom 66% of mutual funds in the

same Large Growth investment category, according to Morningstar, with returns

4.95% less than its benchmark.

      78.    Plan participants continued to suffer from poor returns after the assets

were transferred to the AFT. According to Morningstar, in 2016, the AFT only

achieved 2.11% in net returns, which were 9.85% less than the performance of its

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benchmark, the S&P 500. And, as of July 31, 2018, its gross trailing returns,

according to Morningstar in the one year and three year periods were 17.14% and

13.50%, respectively, underperforming the gross returns of the S&P 500 of 19.66%

and 16.11%, respectively.

         79.       If the Plan fiduciaries had faithfully executed their fiduciary duties to the

Plan and its participants, they would have selected one of the many better performing

non-affiliated funds available with comparable strategies in the Large Growth

category.

         80.       The following table summarizes the poor performance and cumulative

harm to investors in the American Franchise Fund as compared to other available

investment alternatives that were not included in the Plan:
                                                  INVESCO ERISA
                       Invesco American Franchise Trust as Compared to Peer Group Investments
                                                                                                          Compounded
                                                                                             Cumulative     Annual
           Fund              2011     2012      2013      2014     2015     2016     2017     Returns     Growth Rate
 Invesco American           -6.73%   13.45%    40.40%    8.74%    5.42%    2.11%    27.34%   121.43%       12.03%
 Franchise Trust
 T. Rowe Price Blue Chip    1.67%    18.67%    41.57%    9.34%    11.27%   1.15%    36.46%   186.84%       16.25%
 Growth Trust
 +/- Invesco Am Franchise    8.40%    5.22%     1.17%    0.60%     5.85%   -0.96%    9.12%
 T. Rowe Price Growth       -0.83%   19.98%    39.54%    9.83%    11.51%    2.09%   34.46%   179.10%       15.79%
 Stock Trust
 +/- Invesco Am Franchise    5.90%    6.53%    -0.86%     1.09%    6.09%   -0.02%    7.12%
 Schwab Institutional       -8.60%   19.20%    36.19%    11.65%   10.01%    0.15%   35.56%   147.43%       13.82%
 Large Cap Growth Trust
 +/- Invesco Am Franchise   -1.87%   5.75%     -4.21%    2.91%    4.59%    -1.96%   8.22%




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      81.    As the chart above shows, the Invesco American Franchise cumulative

return14 from 2011 through 2017 was 121.43%, compared to available alternative

CITs such as the T. Rowe Price Blue Chip Growth Trust, T. Rowe Price Growth Stock

Trust, and Schwab Institutional Large Cap Growth Trust, which returned, 186.84%,

179.10%, and 147.43% respectively, during that period.

Invesco Diversified Dividend Fund

      82.    The Diversified Dividend Fund was a Plan investment option offered to

Plan participants during the Class Period. It was first offered to Plan participants as a

mutual fund, the Diversified Dividend Fund R6 (“LCEFX”) managed by Invesco

Advisers. Then, in November 2014, the Plan moved the Plan assets in LCEFX to the

Invesco Diversified Dividend Trust (the “DDT”), which is managed by Invesco Trust

Co. and sub-managed by Invesco Advisers.

      83.    Prior to and during the Class Period, the LCEFX consistently

underperformed comparable mutual funds in the same investment category. For

example, according to Morningstar, in 2009 the fund returned 23.66%, which was

2.80% less than its benchmark the S&P 500. Then, in 2011, the fund lost 0.20%,

underperforming the 2.11% return of its benchmark. During 2013, even though the

14
       Due to limited availability of data, the American Franchise cumulative returns
are net of all fees and tracks the performance of VAFFX to January 2016 and then the
AFT from January 2016 to December 31, 2017.

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LCEFX returned 29.42%, it substantially underperformed its peers and was in the

bottom 72% of mutual funds in the same Large Value investment category, according

to Morningstar.

      84.    Plan participants continued to suffer poor returns from their investment in

the DDT. According to Morningstar, in 2015, the DDT lost 0.14%, underperforming

its benchmark by 1.52%. And, in 2017, the DDT’s net return was 8.87%, which was

12.96% less than its benchmark, the S&P 500, and 8.33% less than the average of

other comparable investments in the Large Value category.                 According to

Morningstar, as of July 31, 2018, DDT’s gross trailing returns, in the one year and

three year periods were 5.08% and 7.05%, respectively, compared to the gross returns

of its benchmark, the S&P 500, which returned 19.66% and 16.11%, respectively.

      85.    If the Plan fiduciaries had faithfully executed their fiduciary duties to the

Plan and its participants, they would have selected one of the many better performing

funds available with comparable strategies.

      86.    The following table summarizes the poor performance and cumulative

harm to investors in the Diversified Dividend Plan investment option as compared to

other available investment alternatives that were not included in the Plan:




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                                                      INVESCO ERISA
                         Invesco Diversified Dividend Trust as Compared to Peer Group Investments
                                                                                                                 Compounded
                                                                                                    Cumulative     Annual
           Fund               2011      2012      2013      2014     2015     2016       2017        Returns     Growth Rate
Invesco Diversified          -0.20%    17.28%    29.42%    12.42%   2.20%    14.95%     8.87%       117.80%       11.76%
Dividend Trust
Schwab Institutional Large   -3.09%    21.51%    38.50%    10.02%   -4.81%    20.22%   17.29%       140.86%       13.38%
Cap Value Trust
+/- Invesco Divers Div       -2.89%     4.23%     9.08%    -2.40%   -7.01%     5.27%    8.42%
MFS Large Cap Value           0.43%    16.67%    36.19%    10.81%   -0.24%    14.50%   18.02%       138.37%       13.21%
Trust
+/- Invesco Divers Div        0.63%    -0.61%     6.77%    -1.61%   -2.44%    -0.45%    9.15%
The Boston US Dynamic        -6.10%    18.48%    38.26%    10.74%   -2.03%    18.77%   15.32%       128.55%       12.53%
Large Cap Value Trust
+/- Invesco Divers Div       -5.90%     1.20%     8.84%    -1.68%   -4.23%     3.82%    6.45%
AB US Diversified Value      -1.57%    15.68%    36.89%    13.55%   -2.62%    10.79%   18.79%       126.81%       12.41%
Trust
+/- Invesco Divers Div       -1.37%    -1.60%    7.47%     1.13%    -4.82%    -4.16%    9.92%


         87.        As the chart above shows, the Invesco Diversified Dividend Plan’s

cumulative return15 from 2011 through 2017 was 117.80%, compared to available

alternative CITs such as the Schwab Institutional Large Cap Value Trust, MFS Large

Cap Value Trust, Boston U.S. Dynamic Large Cap Value Trust, and AB U.S.

Diversified Value Trust, which returned, 140.86%, 138.37%, 128.55%, 126.81%,

respectively, during that period.

Invesco Mid Cap Growth Trust

         88.        The Invesco Mid Cap Growth Fund was offered to Plan participants

during the Class Period. It was first offered to Plan participants as a mutual fund, the

Mid Cap Growth R6 Fund (“VGRFX”) managed by Invesco Advisers. Then, in

November 2014, the Plan moved the Plan assets in VGRFX into the Invesco Mid Cap
15
       Due to limited availability of data, the Diversified Dividend returns are net of
all fees and tracks the performance of LCEFX to January 2016 and then DDT from
January 2016 to December 31, 2017.

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Growth Trust (the “MCGT”), managed by Invesco Trust Co. and sub-managed by

Invesco Advisers. If Plan participants wanted to invest in an actively managed

strategy in the Mid Cap Growth investment category, VGRFX and MCGT were their

only Plan options.16

      89.    Prior to and during the Class Period, VGRFX performed worse than

comparable mutual funds in the same investment category. For example, according to

Morningstar, in 2008, the fund lost 48.40%, underperforming its benchmark by

11.40% and the average returns of mutual funds in the Mid Cap investment category

by 4.63%. In 2011, the fund lost 9.10%, underperforming its benchmark by 11.22%

and the average returns of mutual funds in the Mid Cap investment category by

5.14%.

      90.    Plan participants continued to suffer from poor returns from their

investment in the MCGT.         For example, in 2015 and 2016, the MCGT

underperformed its benchmark, the S&P 500, by 6.69% and 11.73%, respectively.

According to Morningstar, as of July 31, 2018, MCGT’s gross trailing returns, in the

one year and three year periods, were 17.47% and 8.00%, respectively, which




16
     In 2013, the Invesco Dynamics Fund R6 was “reorganized” into the Mid Cap
Growth Fund.

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underperformed the trailing returns of its benchmark, the S&P 500, which were

19.66% and 16.11% respectively, during the same periods.

      91.      If the Plan fiduciaries had faithfully executed their fiduciary duties to the

Plan and its participants, they would have selected one of the many better performing

funds available with comparable strategies.

      92.      The following table summarizes the poor performance and cumulative

harm to investors in the Invesco Mid Cap Growth Trust as compared to other available

investment alternatives that were not included in the Plan:
                                             INVESCO ERISA
                     Invesco Mid Cap Growth Trust as Compared to Peer Group Investments

                                                                                               Compounded
                                                                                  Cumulative     Annual
                    Fund            2013     2014       2015     2016     2017     Returns     Growth Rate
       Invesco Mid Cap Growth      37.25%   8.39%      1.68%    0.23%    22.74%   86.09%        13.23%
       Trust
       T. Rowe Price US Mid Cap    37.76%   13.93%     7.37%    7.13%    25.68%   126.91%       17.81%
       Growth Equity Trust
       +/- Invesco Mid Cp Grwth     0.51%    5.54%     5.69%     6.90%    2.94%
       Wellington Mid Cap          39.29%   10.97%     1.57%    11.92%   24.50%   118.75%       16.95%
       Opportunities Trust
       +/- Invesco Mid Cp Grwth     2.04%    2.58%     -0.11%   11.69%    1.76%
       Champlain Mid Cap Trust     37.92%    8.26%      1.66%   19.06%   19.87%   116.63%       16.72%
       +/- Invesco Mid Cp Grwth     0.67%   -0.13%     -0.02%   18.83%   -2.87%
       Transamerica Partners Mid   31.32%    8.85%     -0.62%   13.18%   22.48%   96.90%        14.51%
       Growth Trust
       +/- Invesco Mid Cp Grwth    -5.93%   0.46%      -2.30%   12.95%   -0.26%
       Voya Mid Cap Growth Trust   31.96%   9.05%       0.55%    7.49%   25.11%   94.58%        14.24%
       +/- Invesco Mid Cp Grwth    -5.29%   0.66%      -1.13%    7.26%    2.37%


      93.      As the chart above shows, the Invesco Mid Cap Growth Trust cumulative

return17 from 2011 through 2017 was 86.09%, compared to available alternative CITs


17
       Due to limited availability of data, the Invesco Mid Cap Growth cumulative
returns are net of all fees and tracks the performance of MGRFX to January 2016 and
then the MCGT from January 2016 to December 31, 2017.

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such as the T. Rowe Price US Mid Cap Growth Equity Trust, Wellington Mid Cap

Opportunities Trust, Champlain Mid Cap Trust, Transamerica Partners Mid Growth

Trust, and Voya Mid Cap Growth Trust, which returned 126.91%, 118.75%, 116.63%,

96.90%, and 94.58%, respectively, during that period.

Investments in the Invesco Short-Term Investment Fund Were Imprudent

      94.    During the Class Period, the Investment Manager Defendants caused

Plan Investments to invest in the Invesco Short-Term Investment Fund (the “ISTIF”),

a money market fund run by Invesco subsidiary Invesco Trust Co. For example, the

Invesco Stable Value Trust (“Stable Value Trust”) and Invesco International Growth

Equity Trust (“International Growth Trust”) invested more than $200 million and $20

million in the ISTIF, respectively, at times during the Class Period. The Investment

Manager Defendants breached their fiduciary duties to the Plan and Plan participants

by investing Plan assets in the ISTIF.

      95.    During the Class Period, and up until 2016, the ISTIF undertook a series

of improper measures that were not disclosed to Plan participants to ensure that the

ISTIF’s net asset value (“NAV”) continued to trade at $1 per share even though the

ISTIF’s NAV had in reality fallen below $1 due to losses in the value of the ISTIF’s

holdings. The measures taken by the ISTIF to artificially inflate its NAV included:

(i) retaining a portion of the ISTIF’s income that should have been distributed to

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investors; and (ii) entering into a series of support agreements with an affiliate of

Invesco to provide contingent financial support to the ISTIF. The retention of

distributions that should have gone to Plan Investments, such as the Stable Value

Trust and International Growth Trust, benefitted Invesco by reducing the obligations

of the Invesco affiliate that entered into the support agreements to the detriment of

Plan participants and harmed the Plan’s Investments by reducing the returns of the

Invesco Stable Value Trust and International Growth Trust.

      96.    The U.S. Department of Labor (“DOL”) uncovered Invesco’s improper

conduct in connection with the ISTIF and claimed the manipulation of its NAV and

related actions constituted a violation of ERISA. On or about April 29, 2016, the

DOL announced a settlement of more than $10.2 million with Invesco Trust Co. as a

result of their improper conduction related to the ISTIF. The fiduciaries of the Plan

should not have permitted Plan assets to be invested in the ISTIF since it was

manipulating its NAV and withholding distributions to Plan Investments.

Restricting the Schwab Account to PowerShares ETFs Was the Result of an
Imprudent Process

      97.    Defendants restricted the Schwab Account so that only the Invesco-

affiliated PowerShares ETFs were available in order to boost Invesco’s ETFs and to

increase the volume of ETF shares traded, an important metric used by ETF investors.

It was imprudent for the Plan to limit the purchase of ETFs to PowerShares because
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there are many ETFs provided by other firms that have better performance and lower

fees than PowerShares.

          98.        For illustration purposes, below is a sampling of Invesco-affiliated ETFs

available through the Schwab Account that suffered from poor performance relative to

more prudent alternatives not offered through the Schwab Account:
      Investment Option             Investment Category             1 Year Trailing      3 Year Trailing      5 Year Trailing
                                                                       Return18              Return               Return
 FTSE RAFI Asia Pacific ex-     “Pacific/Asia ex-Japan stock”    13.27 %              6.95%                4.21%
 Japan portfolio (PAF)                                           Category Rank:                            Category Rank:
                                                                 Bottom 82%                                Bottom 83%
 +/- Benchmark                                                   -4.32%               0.71%                -2.29%
 DB G 10 Currency Harvest       “Multicurrency”                  0.02                 -0.49%               -2.33%
 Fund (DBV)                                                                           Category Rank:       Category Rank:
                                                                                      Bottom 68%           Bottom 85%
 +/- Benchmark                                                   -1.49                -.88%                -1.83%
 Dynamic Biotechnology &        “Health”                         18.54                -3.09%               12.09%
 Genome Portfolio (PBE)                                                               Category Rank:       Category Rank:
                                                                                      Bottom 88%           Bottom 65%
 +/- Benchmark                                                   -0.23%               -7.12%               -1.74%
 Global Agriculture Portfolio   “Natural Resources               14.39%               -1.59%               -0.52%
 (PAGG)                                                          Category Rank:       Category Rank:       Category Rank:
                                                                 Bottom 88%           Bottom 88%           Bottom 71%
 +/- Benchmark                                                   -15.05%              -2.27%               -0.49%
 S&P Small Cap Information      “Technology”                     13.00%               15.39%               18.23%
 Technology Portfolio (PSCT)                                     Category Rank:       Category Rank:       Category Rank:
                                                                 Bottom 96%           Bottom 77%           Bottom 68%
 +/- Benchmark                                                   -15.05%              -2.27%               -0.54%
 International Dividend         “Foreign Large Value”            9.58%                -1.36%               1.60%
 Achievers Portfolio (PID)                                       Category Rank:       Category Rank:       Category Rank:
                                                                 Bottom 66%           Bottom 95%           Bottom 93%
 +/- Benchmark                                                   -1.12                -4.72%               -3.08%
 VRDO Tax Free Weekly           “Muni National Short”            0.80%                0.36%                0.18%
 Portfolio (PVI)                                                                      Category Rank        Category Rank:
                                                                                      Bottom 90%           Bottom 90%
 +/- Benchmark                                                   -0.14%               -0.43%               -1.16
 S&P Emerging Markets Low       “Diversified Emerging            12.47%               1.17%                -0.28%
 Volatility Portfolio (EELV)    Markets”                         Category Rank:       Category Rank:       Category Rank:
                                                                 Bottom 73%           Bottom 92%           Bottom 91%
 +/- Benchmark                                                   -1.11                -3.50                -2.72




18
      Trailing returns for the one year, three year and five-year periods of the ETF
investments in the above table were retrieved from Morningstar and are as of May 18,
2018.

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      99.    Had the Plan’s fiduciaries considered the best interests of Plan

participants and acted prudently, they would have enabled Plan participants to

purchase ETF from firms other than Invesco.

The Inclusion of Expensive Versions of Plan Investments Through the Schwab
Account Was the Result of an Imprudent Process

      100. The lack of a prudent process, as well as Defendants acting to benefit

Invesco to the detriment of Plan participants, is shown by the inclusion of expensive

share classes of mutual funds in the Schwab Account even though different – and less

expensive – classes or versions of the same investments were offered as Investment

Funds in the Plan. As alleged above, the Plan fiduciaries took steps to modify the

investment options available to Plan participants through the Schwab Account. Since

they were able to alter the options available through the Schwab Account, the Plan

fiduciaries should have acted in the best interests of Plan participants by ensuring

participants would not unnecessarily waste money on fees, and sacrifice performance

as a result of those fees, by purchasing shares of Invesco mutual funds when shares of

the same funds or investments could have been purchased with lower costs as Plan

Investments. Had Defendants not acted in their own interest, and had they acted

prudently, they would have ensured that the Schwab Account did not offer more

expensive classes of shares of Plan Investments.


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       101. As reflected in the below chart, at various times during the Class Period,

Plan participants unnecessarily purchased expensive shares of Invesco-affiliated funds

through the Schwab Account even though less expensive (and better performing)

classes of those investments were available directly through the Plan:

                                                                     Plan Net   Schwab Acct      Class A
       Fund Name              Plan Version         Schwab Version    Expenses   Net Expenses   Sales Charge
  Invesco High Yield      Invesco High Yield      Invesco High          0.68%         1.09%           4.25%
  Fund                    Class R6                Yield Fund
                                                  Class A
  Balanced Risk           Balanced Risk           Balanced Risk        0.01%          1.22%          5.50%
  Allocation Fund         Allocation Trust        Allocation Fund
                                                  Class A
  Invesco Mid Cap         Invesco Mid Cap         Invesco Mid Cap      0.73%          1.15%          5.50%
  Growth Fund             Growth Fund             Growth Fund
                          Class R6                Class A
  Invesco Developing      Invesco Developing      Invesco              1.01%          1.43%          5.50%
  Markets Fund            Markets Fund            Developing
                          Class R6                Markets Fund
                                                  Class A
  Invesco Floating Rate   Invesco Floating Rate   Invesco Floating     0.68%          1.07%          2.50%
  Fund                    Fund                    Rate Fund
                          Class R6                Class A
  Invesco Diversified     Invesco Diversified     Invesco              0.51%          0.77%          (none)
  Dividend Fund           Dividend Fund           Diversified
                          Class R6                Dividend Fund
                                                  Investor Class
  Invesco American        Invesco American        American             0.65%          1.08%          5.50%
  Franchise Fund          Franchise               Franchise Fund
                          Class R6                Class A


       102. The high fees associated with the proprietary investment options

available through the Schwab Account unjustly enriched Defendants to the detriment

of Plan participants.

                               CLASS ACTION ALLEGATIONS

       103. Plaintiff brings this action in this representative capacity on behalf of the

Plan and as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure

on behalf of himself and a Class defined as follows:
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        All participants in the Invesco 401(k) Plan from May 25, 2012 to the
        date of Judgment (the “Class Period”). Excluded from the Class are
        Defendants and their families, the officers and directors of Invesco Ltd.
        and any of its subsidiaries, at all relevant times, members of their
        immediate families and their legal representatives, heirs, successors or
        assigns, and any entity in which Defendants have or had a controlling
        interest.
        104. The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial

benefits to the parties and the Court. As of December 31, 2016, the Plan had over

3,700 participants.

        105. There is a well-defined community of interest in the questions of law and

fact involved in this case. Questions of law and fact common to the members of the

Class that predominate over questions that may affect individual Class members

include, inter alia:

              (a)      whether Defendants are fiduciaries of the Plan;

              (b)      whether Defendants breached their fiduciary duties of loyalty and

prudence with respect to the Plan;

              (c)      whether Defendants had a duty to monitor other fiduciaries of the

Plan;

              (d)      whether Defendants breached their duty to monitor other

fiduciaries of the Plan; and

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                (e)   the extent of damage sustained by Class members and the

appropriate measure of damages.

      106. Plaintiff’s claims are typical of those of the Class because Plaintiff and

the Class sustained damages from Defendants’ wrongful conduct.

      107. Plaintiff will adequately protect the interests of the Class and has retained

counsel experienced in class action litigation. Plaintiff has no interests that conflict

with those of the Class.

      108. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

                                      COUNT I

           Breach of Fiduciary Duties in Violation of ERISA §404(a)
                     Against the Plan Sponsor Defendants
                   and the Benefits Committee Defendants
      109. Plaintiff repeats and realleges the above paragraphs as though fully set

forth herein.

      110. The Benefits Committee Defendants were fiduciaries of the Plan under

ERISA §3(21), 29 U.S.C. §1002(21), among other reasons, because the IBPC and its

members were the named fiduciaries of the Plan and responsible for: (i) establishment

of the Plan’s investment policy; (ii) the selection and monitoring of the Plan

Investments’ performance; (iii) determining the number and characteristics of the Plan


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Investments; (iv) determining the administrative fees associated with Plan participant

fund elections; and (v) appointing and monitoring investment managers for the Plan

Investments.

      111. The Plan Sponsor Defendants were fiduciaries of the Plan under ERISA

§§3(21) and/or 402(a)(1), 29 U.S.C. §§1002(21) and/or 1102(a)(1) because they were

either designated in the Plan Document and the Trust Agreement as the Plan Sponsor

and/or functioned as the Plan Sponsor under ERISA. The Invesco Plan Sponsor

Defendants were responsible for ensuring that the Plan’s proprietary and affiliated

investment options would not be prohibited under ERISA and whether the Plan’s

proprietary and affiliate investment options should be removed from the Plan.

      112. As fiduciaries of the Plan, the Plan Sponsor Defendants and the Benefits

Committee Defendants were required pursuant to ERISA §404(a)(1), 29 U.S.C.

§1104(a)(1) to act: “(A) for the exclusive purpose of: (i) providing benefits to

participants and their beneficiaries; and (ii) defraying reasonable expenses of

administering the plan,” and “(B) to discharge their duties on an ongoing basis with

the care, skill, prudence, and diligence under the circumstances then prevailing that a

prudent man acting in a like capacity and familiar with such matters would use in the

conduct of an enterprise of a like character and with like aims.”



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      113. ERISA’s duty of prudence required the Plan Sponsor Defendants and the

Benefits Committee Defendants to give appropriate consideration to those facts and

circumstances that, given the scope of their fiduciary investment duties, they knew or

should have known were relevant to the particular investments of the Plan and to act

accordingly. See 29 C.F.R. §2550.404a-1. The Supreme Court has concluded that

this duty is “a continuing duty to monitor [plan] investments and remove imprudent

ones.” Tibble, 135 S. Ct. at 1828.

      114. As described above, the Plan Sponsor Defendants and the Benefits

Committee Defendants failed to properly evaluate the Plan’s investments to ensure

that each of these investments remained prudent and failed to prudently monitor or

remove the Plan Investments that were no longer prudent.

      115. Under the Plan Documents, both the Plan Sponsor Defendants and the

Benefits Committee Defendants were responsible for ensuring that Invesco’s

proprietary Plan Investments were in compliance with ERISA, as prudent and loyal

investments of the Plan. Both the Plan Sponsor Defendants and the Benefits

Committee Defendants breached this portion of the Trust Agreement by retaining poor

performing and expensive proprietary Plan Investments.

      116. At all relevant times herein, the Plan Sponsor Defendants and the

Benefits Committee Defendants had a conflict of interest to select, retain and/or add

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proprietary Plan Investments that were imprudent. Acting in their self-interest, rather

than the best interests of the Plan and its participants, the Invesco Plan Sponsor

Defendants and the Benefits Committee Defendants imprudently and disloyally

selected and retained Plan Investments that performed poorly and/or charged

excessive fees that benefited Invesco and its affiliated entities, rather than Plan

participants, despite the availability of superior – and readily available – investment

alternatives as detailed herein. A prudent fiduciary, in possession of the same

information, would have removed the many underperforming and/or expensive

proprietary and affiliated Plan Investments, replaced them with more prudent, lower

cost and/or better performing alternatives, and used the size, leverage and bargaining

power of the Plan, which is one of the larger defined-contribution plans in the United

States, to secure access to superior investment alternatives for Plan participants.

      117. The Plan Sponsor Defendants and the Benefits Committee Defendants

breached their duties of prudence and loyalty with respect to the Plan by at least the

following actions or omissions:

             (a)    failing to properly investigate the availability of, and give

appropriate consideration to, better performing and lower-cost funds with comparable

or superior performance as alternatives to the Plan Investments plagued with

underperformance;

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               (b)   failing to evaluate and monitor on a regular basis the performance

of the Plan Investments;

               (c)   failing to recommend more prudent additions to the Plan

Investments including better performing and less expensive non-proprietary Plan

Investments;

               (d)   failing to implement and employ an ongoing process to monitor the

performance, fees, and expenses of the Plan Investments;

               (e)   exposing Plan participants to the ISTIF without their knowledge;

               (f)   structuring the Schwab Account to limit equity purchases to

Invesco-affiliated ETFs, and by failing to remove Invesco-affiliated fund choices

when less costly alternatives were available as Plan Investments;

               (g)   considering and being motivated in whole or in part by the

promotion or success of the business of Defendant Invesco and its asset management

business; and

               (h)   failing to promptly remove the imprudent proprietary and/or

affiliated Plan Investments.

       118. Through these actions and omissions, the Plan Sponsor Defendants and

the Benefits Committee Defendants failed to discharge their duties with respect to the

Plan: (A) solely in the interest of the participants and beneficiaries of the Plan, and for

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the exclusive purpose of providing benefits to participants and their beneficiaries and

defraying reasonable expenses of administering the Plan, in violation of ERISA

§404(a)(1)(A), 29 U.S.C. §1104(a)(1)(A); and (B) failed to act with the care, skill,

prudence and diligence under the circumstances then prevailing that a prudent man

acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of a like character and with like aims, in violation of ERISA §404(a)(1)(B),

29 U.S.C. §1104(a)(1)(B).

      119. As a direct and proximate result of these breaches, the Plan, Plaintiff and

members of the Class suffered substantial losses in the form of higher fees or lower

returns on their investments than they would have otherwise experienced.

Additionally, and regardless of the losses incurred by Plaintiff or any member of the

Class, pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29 U.S.C. §§1132(a)(2)

and (a)(3), and 1109(a), the Plan Sponsor Defendants and the Benefits Committee

Defendants and any non-fiduciary which knowingly participated in these breaches are

liable to disgorge all profits made as a result of these Defendants’ breaches of the

duties of loyalty and prudence.




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                                     COUNT II

           Breach of Fiduciary Duties in Violation of ERISA §404(a)
                     Against the Plan Sponsor Defendants
                   for Failure to Monitor Other Fiduciaries
      120. Plaintiff repeats and realleges the above paragraphs as though fully set

forth herein.

      121. The Plan Sponsor Defendants were and continue to be fiduciaries of the

Plan under ERISA §3(21)(A), 29 U.S.C. §1002(21)(A), because they were responsible

for: (i) ensuring all proprietary investments offered as part of the Plan Investments

were prudent, loyal, and in compliance with all rules of ERISA; (ii) appointing and

removing members of the IBPC; (iii) monitoring the performance of IBPC members;

(iv) delegating fiduciary authority under the Plan; and (v) making necessary changes

to the Plan.

      122. As a fiduciary of the Plan, the Plan Sponsor Defendants were and

continue to be required pursuant to ERISA §404(a)(1), 29 U.S.C. §1104(a)(1), to act

solely in the interest of the participants and beneficiaries of the Plan they served and

(A) “for the exclusive purpose of: (i) providing benefits to participants and their

beneficiaries; and (ii) defraying reasonable expenses of administering the plan,” and

(B) discharging their duties on an ongoing basis “with the care, skill, prudence, and

diligence under the circumstances then prevailing that a prudent man acting in a like


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capacity and familiar with such matters would use in the conduct of an enterprise of a

like character and with like aims.” Consistent with these duties, the Plan Sponsor

Defendants were required to ensure that the monitored fiduciaries were performing

their fiduciary obligations, including those with respect to the investment and

monitoring of Plan assets, and must take prompt and effective action to protect the

Plan and participants when the monitored fiduciaries fail to perform their fiduciary

obligations in accordance with ERISA.

      123. To the extent the Plan Sponsor Defendants delegated fiduciary

monitoring responsibilities to other fiduciary Defendants, each Defendant’s

monitoring duty included an obligation to ensure that any delegated tasks were

performed prudently and loyally.

      124. The Plan Sponsor Defendants breached their fiduciary monitoring duties

by, among other things:

             (a)    failing to monitor and evaluate the performance of other Plan

fiduciaries or have a system in place for doing so, standing idly by as the Plan suffered

losses as a result of other Defendants’ election to load the Plan with proprietary Plan

Investments when superior non-proprietary investment alternatives were readily

available elsewhere, as detailed herein;



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             (b)    failing to monitor the processes by which Plan Investments were

chosen, evaluated and retained, which would have alerted a prudent fiduciary to the

preferential treatment Defendants gave to Invesco-affiliated funds out of self-interest,

and not based on the best interest of the Plan’s participants;

             (c)    failing to monitor the process by which Plan Investments were

chosen, evaluated or retained, which would have alerted a prudent fiduciary of the

excessive fees and/or underperformance of the proprietary Plan Investments;

             (d)    failing to monitor their appointees to ensure that they considered

availability of comparable non-Invesco funds, including lower-cost funds with similar

strategies and similar or superior performance and/or less expensive, better-

performing funds than the proprietary and/or affiliated Plan Investments; and

             (e)    failing to remove fiduciaries whose performance was inadequate in

that they continued to maintain costly and self-serving investments in the Plan, all to

the detriment of the Plan and the Plan’s participants’ retirement savings, including

Plaintiff and members of the Class.

      125. As a direct and proximate result of these breaches of the duty to monitor,

the Plan, Plaintiff and members of the Class have suffered substantial losses in the

form of higher fees and/or lower returns on their investments than they would have

earned by the prudent and loyal investment of Plan assets.

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      126. Pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29 U.S.C.

§§1132(a)(2) and (a)(3), and 1109(a), the Plan Sponsor Defendants are liable to

disgorge all fees received from the Plan directly or indirectly, and profits thereon, and

restore all losses suffered by the Plan caused by their breaches of the duty to monitor,

and such other appropriate equitable relief as the Court deems proper.

                                      COUNT III
  Prohibited Transactions in Violation of ERISA §406(a)(1) (A), (C) and (D)
    Against Defendant Invesco, the Plan Sponsor Defendants, the Benefits
      Committee Defendants and the Investment Manager Defendants
      127. Plaintiff repeats and realleges the above paragraphs as though fully set

forth herein.

      128. ERISA §406(a)(1), 29 U.S.C. §1106(a)(1) provides, in pertinent part, that

a fiduciary with respect to a plan shall not cause the plan to engage in a transaction, if

he knows or should know that such transaction constitutes a direct or indirect –

      (A) sale or exchange, or leasing, of any property between the plan and
      a party in interest;

                                     *      *      *

      (C) furnishing of goods, services, or facilities between the plan and a
      party in interest;

      (D) transfer to, or use by or for the benefit of, a party in interest, of
      any assets of the plan . . .




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      129. The Plan Sponsor Defendants and the Benefits Committee Defendants

are fiduciaries of the Plan within the meaning of ERISA §3(21), 29 U.S.C. §1002(21)

that caused the Plan to offer the proprietary and/or affiliated Plan Investments and to

continue offering the Plan Investments as options in the Plan.

      130. As the employer of the named fiduciaries under the Plan, the corporate

parent that wholly owns the Plan Sponsor, and the corporate parent that wholly owns

the service providers for the Plan, Defendant Invesco is a party in interest under

ERISA §3(14).

      131. As service providers to the Plan, the Investment Manager Defendants

were parties in interest within the meaning of ERISA §3(14).

      132. The Plan Sponsor Defendants and/or the Benefits Committee Defendants

caused the Plan to almost exclusively select proprietary Invesco products as the Plan

Investments offered to Plan participants during and throughout the Class Period, even

though the Plan Investments, as identified above, were plagued by needlessly high

expenses and underperformance.

      133. Since the Investment Manager Defendants were subsidiaries of

Defendant Invesco, Defendant Invesco and the Investment Manager Defendants must

have known that those transactions constituted a direct or indirect furnishing of

services between the Plan and a party in interest.

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      134. These transactions were for more than reasonable compensation, not

selected solely in the interests of Plan participants and/or were on terms less favorable

than could have been procured if the transactions were the product of arm’s-length

negotiations with outside investors.       As described throughout the Complaint,

compensation paid to parties in interest for management of proprietary mutual funds

and CITs was unreasonably high to promote the business of Defendant Invesco and its

wholly-owned subsidiaries Defendant Invesco Advisers and Defendant Invesco Trust

Co. The Plan fiduciaries, all senior executives or officers of Defendant Invesco, acted

in their own self-interest without consideration for Plan participants.             As a

representative example, in June 2014, Plan fiduciaries steered participants invested in

the Invesco Emerging Market Equity Trust, with an operating expense of 0.21%, into

the Invesco Developing Markets mutual fund with an operating expense of 1.01% --

80 bps higher even though the Developing Markets mutual fund had a track record of

underperformance. These Defendants failed to consider or select lower cost, non-

proprietary investment alternatives, including those offered by unaffiliated investment

managers with lower fees.

      135. By selecting the proprietary and/or affiliated Plan Investments as the

virtually exclusive options in the Plan and by maintaining these as the options in the

Plan, Defendant Invesco, the Invesco Plan Sponsor Defendants, the Benefits

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Committee Defendants and the Investment Manager Defendants caused the Plan to

engage in a prohibited transaction in violation of ERISA §406(a)(1) (A), (C) and (D),

29 U.S.C. §1106(a)(1) (A), (C) and (D).

      136. As parties in interest, Defendant Invesco and the Investment Manager

Defendants are liable for these violations of ERISA §406(a)(1) (A), (C) & (D), 29

U.S.C. §1106(a)(1) (A), (C) and (D) pursuant to ERISA §502(a)(3).

      137. As a result of these prohibited transactions, Defendant Invesco and the

Investment Manager Defendants received, and Plaintiff and members of the Class

paid, millions of dollars in the form of higher fees and lower returns on their

investments than they would have without these prohibited transactions.

                                     COUNT IV

     Prohibited Transactions in Violation of ERISA §406(b)(1) and (3)
    Against Defendant Invesco, the Plan Sponsor Defendants, the Benefits
      Committee Defendants, and the Investment Manager Defendants
      138. Plaintiff repeats and realleges the above paragraphs as though fully set

forth herein.

      139. ERISA §406(b), 29 U.S.C. §1106(b), provides, in pertinent part, that a

fiduciary with respect to a plan shall not:

      (1) deal with the assets of the plan in his own interest or for his own
      account,
      or . . .

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      (3) receive any consideration for his own personal account from any
      party dealing with such plan in connection with a transaction involving
      the assets of the plan.

      140. The Plan Sponsor Defendants and the Benefits Committee Defendants

are fiduciaries of the Plan within the meaning of ERISA §§3(21) and 406(b)(1),

29 U.S.C. §§1002(21) and 1106(b)(1).

      141. The Invesco Plan Sponsor Defendants and the Benefits Committee

Defendants dealt with the assets of a plan in their own interest or for their own

account by selecting and maintaining the proprietary and/or affiliated Plan

Investments despite their high fees and/or poor performance because Defendant

Invesco received the financial benefit resulting from the performance of its wholly-

owned subsidiaries.

      142. Defendant Invesco received consideration for its own account through the

receipt of investment management fees paid from the Plan Investments in the Plan to

its wholly-owned subsidiaries and/or the profits derived from the fees generated by its

wholly-owned subsidiaries in violation of ERISA §406(b)(3), 29 U.S.C. §1106(b)(3).

      143. The Investment Manager Defendants were wholly-owned subsidiaries of

Defendant Invesco during and throughout the Class Period.            As a result, the

Investment Manager Defendants would have known that the Invesco Plan Sponsor

Defendants and the Benefits Committee Defendants, all senior executives and officers

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of Defendant Invesco, were dealing with the Plan in their own interest or for their own

account by selecting and maintaining proprietary and/or affiliated Plan Investments or

that these fiduciaries received consideration for their own account by selecting and

maintaining proprietary and/or affiliated Plan Investments.

      144. By selecting the proprietary and/or affiliated Plan Investments and by

maintaining these as the options in the Plan, Defendant Invesco, the Invesco Plan

Sponsor Defendants and the Benefits Committee Defendants caused the plan to

engage in a prohibited transaction in violation of ERISA §406(b)(1) and (3), 29

U.S.C. §1106(b)(1) and (3).

      145. With respect to, at minimum, poor performing and expensive proprietary

mutual funds and CIT Plan Investments, including but not limited to the Developing

Markets Fund, Defendant Invesco, the Invesco Plan Sponsor Defendants, Benefits

Committee Defendants, and the Investment Manager Defendants engaged in

prohibited transactions as follows:

             (a)    by causing the Plan to engage in transactions that they know or

should know constitute direct or indirect transfers of the Plan’s assets to, or use of the

Plan’s assets by or for the benefit of, parties in interest, in violation of 29 U.S.C.

§1106(a)(1)(D);



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             (b)    by causing the Plan to engage in the above conduct and omissions,

in which a fiduciary to the Plan dealt with the assets of the plan in his own interest or

for his own account in violation of 29 U.S.C. §1106(b)(1);

             (c)    by causing the Plan to engage in the above conduct and omissions,

in which a fiduciary to the Plan received consideration for its own personal account

from any party dealing with the Plan in connection with a transaction involving the

assets of the Plan, in violation of 29 U.S.C. §1106(b)(3); and

             (d)    by causing the Plan to pay investment management fees,

investment advisory fees, investment operation fees, or similar fees, which violated

the terms of Prohibited Transaction Exemption 77-3.

      146. As parties in interest, Defendant Invesco and the Investment Manager

Defendants are liable for these violations of ERISA §406(b)(1) and (3), 29 U.S.C.

§1106(b)(1) and (3), pursuant to ERISA §502(a)(3).

      147. Pursuant to ERISA §§502(a)(2) and (a)(3), and 409(a), 29 U.S.C.

§§1132(a)(2) and (a)(3), and 1109(a), Defendant Invesco, the Invesco Plan Sponsor

Defendants, the Benefits Committee Defendants and the Investment Manager

Defendants are liable to disgorge all amounts and profits received as a result of these

prohibited transactions, and such other appropriate equitable relief as the Court deems

proper.

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                                      COUNT V

                   Co-fiduciary Liability Under ERISA §405
         Against the Plan Sponsor Defendants, the Benefits Committee
            Defendants, and the Investment Manager Defendants
      148. Plaintiff repeats and realleges each of the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

      149. ERISA §405(a), 29 U.S.C. §1105(a), imposes liability on a fiduciary, in

addition to any liability which he may have had under any other provision of ERISA,

if:

      (1) he participates knowingly in or knowingly undertakes to conceal
      an act or omission of such other fiduciary knowing such act or omission
      is a breach;

      (2) by his failure to comply with ERISA §404(a)(1) in the
      administration of his specific responsibilities which give rise to his status
      as a fiduciary, he has enabled such other fiduciary to commit a breach; or
      (3) he knows of a breach by another fiduciary and fails to make
      reasonable efforts to remedy it.

      150. The Invesco Plan Sponsor Defendants, the Benefits Committee

Defendants, and the Investment Manager Defendants were all fiduciaries of the Plan

within the meaning of ERISA §402(a), 29 U.S.C. §1102(a), ERISA §3(21)(A), 29

U.S.C. §1002(21)(A), or both.

      151. Each of these fiduciaries knew of each breach of fiduciary duty alleged

herein arising out of the imprudent investment of the assets of the Plan in the

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proprietary and/or affiliated Plan Investments and the associated breaches. Yet, they

knowingly participated in fiduciary breaches, breached their own duties enabling other

breaches, and/or took no steps to remedy other fiduciary breaches.

                                     COUNT VI

              Knowing Participation in a Fiduciary Breach or
              Violation of ERISA Pursuant to ERISA 502(a)(3)
     Against Defendant Invesco and the Investment Manager Defendants
      152. Plaintiff repeats and realleges each of the allegations set forth in the

foregoing paragraphs as if fully set forth herein.

      153. ERISA §502(a)(3), 29 U.S.C. §1132(a)(3) imposes liability not only on

fiduciaries of the Plan but also on non-fiduciaries of the Plan who knowingly

participate in fiduciary breaches or other violations of ERISA or the terms of the Plan.

As such, the Investment Manager Defendants (even if they are not fiduciaries), can be

held liable if either of them knowingly participated in the fiduciary breaches or

violations of any fiduciary of the Plan.

      154. The Investment Manager Defendants and Defendant Invesco would have

known that each of the other Defendants were fiduciaries of the Plan as these other

Defendants either were senior Invesco executives and officers or were appointed by

Invesco (or high level Invesco executives). The knowledge of any such executives

would be imputed to Invesco.


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       155. Defendant Invesco and the Investment Manager Defendants would have

been aware of the foregoing breaches and prohibited transactions, including:

             (a)    the proprietary and/or affiliated Plan Investments had inferior

investment performance;

             (b)    the proprietary and/or affiliated Plan Investments charged

excessive fees;

             (c)    the fiduciaries who selected the Plan Investments had conflicts of

interest;

             (d)    the selection and continued offering of the proprietary and/or

affiliated Plan Investments was not in the best interests of the participants, but instead

the primary purpose of offering them as an investment option was to increase the

assets under management, to increase the fees charged and the profits of Invesco,

Invesco Advisers, Invesco Trust Co., and PowerShares; and

             (e)    several proprietary Plan Investments they managed were invested

in the ISTIF despite the obvious imprudence in doing so.

       156. Despite knowledge of these breaches and violations, Defendant Invesco

and the Investment Manager Defendants proceeded to engage in the transactions and

receive lucrative fees for their benefit.



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      157. By knowingly participating in these breaches and violations, Defendant

Invesco and the Investment Manager Defendants are subject to appropriate equitable

relief including disgorgement of any profits, having a constructive trust placed on any

proceeds received (or which are traceable thereto) and/or is subject to other

appropriate equitable relief.

                          ENTITLEMENT TO RELIEF

      158. By virtue of the violations set forth in the foregoing paragraphs, Plaintiff

and the members of the Class are entitled to sue each of the fiduciary Defendants

pursuant to ERISA §502(a)(2), 29 U.S.C. §1132(a)(2), for relief on behalf of the Plan

as provided in ERISA §409, 29 U.S.C. §1109, including for recovery of any losses to

the Plan, the recovery of any profits resulting from the breaches of fiduciary duty, and

such other equitable or remedial relief as the Court may deem appropriate.

      159. By virtue of the violations set forth in the foregoing paragraphs, Plaintiff

and the members of the Class are entitled, pursuant to ERISA §502(a)(3), 29 U.S.C.

§1132(a)(3), to sue any of the Defendants for any appropriate equitable relief to

redress the wrongs described above.




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment as follows:

      A.     Declaring that each of the Defendants who are fiduciaries of the Plan

have breached their fiduciary duties under ERISA;

      B.     Ordering each fiduciary found to have breached his/her/its fiduciary

duties to the Plan to jointly and severally restore all losses to the Plan that resulted

from the breaches of fiduciary duty, or by virtue of liability pursuant to ERISA §405;

      C.     Entering an order requiring: (a) the disgorgement of profit made by any

Defendant; (b) declaring a constructive trust over any assets received by any

breaching fiduciary in connection with his/her/its breach of fiduciary duties, or

violations of ERISA, or any non-fiduciary Defendant who knowingly participated in

that breach or violation; (c) requiring the Plan to divest itself of investments in the

imprudent Plan Investments; and (d) any other appropriate equitable monetary relief,

whichever is in the best interest of the Plan;

      D.     Ordering, pursuant to ERISA §206(d)(4), 29 U.S.C. §1056(d)(4), that any

amount to be paid to or necessary to satisfy any breaching fiduciary’s liability can be

satisfied, in whole or in part, by attaching their accounts in or benefits from the Plan;




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      E.       Removing any breaching fiduciaries as fiduciaries of the Plan and

permanently enjoining them from serving as a fiduciary of any ERISA-covered plan in

which Plaintiff or any member of the Class is a participant or beneficiary;

      F.       Appointing an independent fiduciary, at the expense of the breaching

fiduciaries, to administer the Plan and the management of Plan Investments and/or

selection of investment options and/or to oversee the divestment of the Plan’s

investments;

      G.       Ordering the Plan’s fiduciaries to provide a full accounting of all fees

paid, directly or indirectly, by the Plan;

      H.       Awarding Plaintiff and the Class their attorneys’ fees and costs pursuant

to ERISA §502(g), 29 U.S.C. §1132(g), the common benefit doctrine and/or the

common fund doctrine;

      I.       Awarding Plaintiff and the members of the Class pre-judgment and post-

judgment interest;

      J.       Awarding such equitable, injunctive or other relief as the Court may

deem appropriate pursuant to ERISA §502(a)(3) or any relief to which Plaintiff and

the Class are entitled to pursuant to Fed. R. Civ. P. Rule 54(c); and




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      K.    Awarding such equitable, injunctive or other relief as the Court may

deem just and proper.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 7th day of September, 2018, a true and correct copy

of the foregoing was served via CM/ECF filing on all counsel of record.


                                                   /s/ John C. Herman
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